Case 24-13918-RAM   Doc 94   Filed 10/18/24   Page 1 of 5
Case 24-13918-RAM   Doc 94   Filed 10/18/24   Page 2 of 5
Case 24-13918-RAM   Doc 94   Filed 10/18/24   Page 3 of 5
                Case 24-13918-RAM           Doc 94     Filed 10/18/24      Page 4 of 5




If the debtor receives gambling winnings during the pendency of the plan the debtor shall turn over any gross
winnings to the Chapter 13 Trustee for the benefit of the unsecured creditors.
Case 24-13918-RAM   Doc 94   Filed 10/18/24   Page 5 of 5
